        Case 2:19-cv-00143-SAB   ECF No. 31   filed 10/07/20   PageID.124 Page 1 of 2



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                                                                         FILED IN THE

 4                                                                   U.S. DISTRICT COURT
                                                               EASTERN DISTRICT OF WASHINGTON


 5                                                              Oct 07, 2020
 6                                                                  SEAN F. MCAVOY, CLERK



 7                        UNITED STATES DISTRICT COURT
 8                      EASTERN DISTRICT OF WASHINGTON
 9
10 KATHRYN MORGAN, et al.,
11               Plaintiffs,                      No. 2:19-CV-00143-SAB
12               v.
13 PORTFOLIO RECOVERY                             ORDER OF DISMISSAL WITH
14 ASSOCIATES, LLC, a Delaware limited            PREJUDICE
15 liability company,
16               Defendant.
17
18         Before the Court is the parties’ Stipulated Motion for Order of Dismissal
19 With Prejudice, ECF No. 30. The parties indicate the above-captioned action is
20 voluntarily dismissed pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii).
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     ORDER OF DISMISSAL WITH PREJUDICE * 1
      Case 2:19-cv-00143-SAB     ECF No. 31    filed 10/07/20   PageID.125 Page 2 of 2



 1        Accordingly, IT IS HEREBY ORDERED:
 2        1. The parties’ Stipulated Motion for Order of Dismissal With Prejudice,
 3 ECF No. 30, is GRANTED.
 4        2. Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii) and the parties’ Stipulation, the
 5 above-captioned case is DISMISSED with prejudice and without an award of
 6 costs or attorney fees to either party.
 7        IT IS SO ORDERED. The District Court Executive is hereby directed to
 8 file this Order, provide copies to counsel, and close the file.
 9        DATED this 7th day of October 2020.
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                                                    Stanley A. Bastian
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                                                United States District Judge
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     ORDER OF DISMISSAL WITH PREJUDICE * 2
